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UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG § MDL NO. 2179
“DEEPWATER HORIZON” §
in the GULF OF MEXICO § SECTION: J
on APRIL 20, 2010 §
§ JUDGE BARBIER
This Document Relates to: §
§
BENNY ARISPE, et al. v. § MAG. JUDGE SHUSHAN
BP Exploration & Production, etal §

EDLA No. 10-4235 §

ORDER ON PLAINTIFE MICHAEL WOODRUEF’S MOTION FOR LEAVE OF
COURT TO VOLUNTARILY DISMISS CLAIMS WITHOUT PREJUDICE

Considering the foregoing Motion,
IT IS HEREBY ORDERED that Plaintiff MICHAEL WOODRUFF’S Motion for

Leave of Court to Voluntarily Dismiss Claims Without Prejudice is hereby in ail things is

GRANTED.

IT IS FURTHER ORDERED THAT that the claims of Plaintiff MICHAEL
WOODRUFF only, as listed on Exhibit “A’ attached to said Motion are hereby dismissed
without prejudice. This Order in no way affects the claims of the remaining Plaintiffs in

this Civil Action.

New Orleans, Louisiana, this day of , 2011.

HONORABLE CARL J. BARBIER
